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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF OHIO

                                                        :
Sally Zwicker
                      Plaintiff,                        :               Case No.:

             -vs-                                       :                District Judge
Cincinnati Public Schools,                                               Magistrate Judge :
                    DefendantV,                         :


                                   MOTION FOR ADMISSION PRO HAC VICE


             Pursuant to S.D. Ohio Civ. R. 83.3(e) and 83.4(a),       Stephen M. Dane          , trial
                                                                  (Name of Trial Attorney)

     attorney for Sally Zwicker     , in the above-referenced action, hereby moves the court to
                    (Name of Party)
                Andrew Rozynski
     admit                         , pro hac vice to appear and participate as counsel or co-counsel
             (Name of PHV Attorney)

      in this case for Sally Zwicker                .
                             (Name of Party)

             Movant represents that            Andrew Rozynski          is a member in good standing
                                            (Name of PHV Attorney)

      of the highest court of New York as attested by the accompanying certificate from that
                             (Name of State)

     court and that       Andrew Rozynski          is not eligible to become a member of the
                      (Name of PHV Attorney)

      permanent bar of this Court. This Motion is accompanied by the required $200.00 fee.


                 Andrew Rozynski           understands that, unless expressly excused, he or
             (Name of PHV Attorney)

     she must register for electronic filing with this Court promptly upon the granting of this Motion.
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          Andrew Rozynski
                               s relevant identifying information is as follows:
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                                           ____________________________
                                           (Telephone Number)

                                          Trial Attorney for Sally Zwicker
                                                                (Name of Party)




              (Please attach required Certificate of Service)
